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                                     Nos. 2023-1850, -2038

                         United States Court of Appeals
                                             for the
                                      Fourth Circuit

                 HONEYWELL INTERNATIONAL INC., HAND HELD PRODUCTS, INC.,
                             METROLOGIC INSTRUMENTS, INC.,
                            Plaintiffs-Appellants/Cross-Appellees,
                                                v.
                                  OPTO ELECTRONICS CO., LTD.,
                             Defendant-Appellee/Cross-Appellant.
                    On Appeal from the United States District Court
                       for the Western District of North Carolina
                            Case No. 3:21-cv-506-KDB-DCK
               PLAINTIFFS-APPELLANTS’ REDACTED OPENING BRIEF

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            Honeywell International Inc., Hand-Held Products, Inc.,
            and Metrologic Instruments, Inc.
                                           April 1, 2024
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                        UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                              DISCLOSURE STATEMENT

            x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
                 parties, with the following exceptions: (1) the United States is not required to file a disclosure
                 statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
                 or local government is not required to file a disclosure statement in pro se cases. (All parties
                 to the action in the district court are considered parties to a mandamus case.)
            x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
            x    In criminal cases, the United States must file a disclosure statement if there was an
                 organizational victim of the alleged criminal activity. (See question 7.)
            x    Any corporate amicus curiae must file a disclosure statement.
            x    Counsel has a continuing duty to update the disclosure statement.


                23-1850
            No. __________             Caption: __________________________________________________
                                                Honeywell International, et al v. OPTO Electronics Co., Ltd.

            Pursuant to FRAP 26.1 and Local Rule 26.1,

            ______________________________________________________________________________
            Honeywell International Inc.
            (name of party/amicus)

            ______________________________________________________________________________

             who is _______________________,
                              appellant           makes the following disclosure:
            (appellant/appellee/petitioner/respondent/amicus/intervenor)


            1.      Is party/amicus a publicly held corporation or other publicly held entity? □
                                                                                               ✔ YES □ NO



            2.      Does party/amicus have any parent corporations?                               □ YES □   ✔ NO
                    If yes, identify all parent corporations, including all generations of parent corporations:




            3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                    other publicly held entity?                                              □ YES □  ✔ NO
                    If yes, identify all such owners:




            12/01/2019 SCC                                   -1-
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             4.    Is there any other publicly held corporation or other publicly held entity that has a direct
                   financial interest in the outcome of the litigation?                          □ YES □   ✔ NO
                   If yes, identify entity and nature of interest:




             5.    Is party a trade association? (amici curiae do not complete this question)    □ YES □✔ NO
                   If yes, identify any publicly held member whose stock or equity value could be affected
                   substantially by the outcome of the proceeding or whose claims the trade association is
                   pursuing in a representative capacity, or state that there is no such member:




             6.    Does this case arise out of a bankruptcy proceeding?                                □ YES□    ✔ NO
                   If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
                   party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
                   caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
                   corporation that owns 10% or more of the stock of the debtor.




             7.    Is this a criminal case in which there was an organizational victim?             □ YES□   ✔ NO
                   If yes, the United States, absent good cause shown, must list (1) each organizational
                   victim of the criminal activity and (2) if an organizational victim is a corporation, the
                   parent corporation and any publicly held corporation that owns 10% or more of the stock
                   of victim, to the extent that information can be obtained through due diligence.




                        M. Scott Stevens
             Signature: ____________________________________                       Date: ___________________
                                                                                                8/28/23

                          Appellants
             Counsel for: __________________________________




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                        UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                               DISCLOSURE STATEMENT

            x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
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                 to the action in the district court are considered parties to a mandamus case.)
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            x    In criminal cases, the United States must file a disclosure statement if there was an
                 organizational victim of the alleged criminal activity. (See question 7.)
            x    Any corporate amicus curiae must file a disclosure statement.
            x    Counsel has a continuing duty to update the disclosure statement.


                23-1850
            No. __________             Caption: Honeywell
                                                __________________________________________________
                                                          International Inc. v OPTO Electronics Co., Ltd.

            Pursuant to FRAP 26.1 and Local Rule 26.1,

            ______________________________________________________________________________
            Hand Held Products, Inc.
            (name of party/amicus)

            ______________________________________________________________________________

             who is _______________________,
                              appellant           makes the following disclosure:
            (appellant/appellee/petitioner/respondent/amicus/intervenor)


            1.      Is party/amicus a publicly held corporation or other publicly held entity? □ YES □
                                                                                                     ✔ NO



            2.      Does party/amicus have any parent corporations?                               □✔ YES □NO
                    If yes, identify all parent corporations, including all generations of parent corporations:
                     Honeywell International Inc.




            3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                    other publicly held entity?                                              □
                                                                                             ✔ YES □ NO
                    If yes, identify all such owners:

                     Honeywell International Inc.




            12/01/2019 SCC                                   -1-
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             4.    Is there any other publicly held corporation or other publicly held entity that has a direct
                   financial interest in the outcome of the litigation?                          □ YES □   ✔ NO
                   If yes, identify entity and nature of interest:




             5.    Is party a trade association? (amici curiae do not complete this question)    □ YES □✔ NO
                   If yes, identify any publicly held member whose stock or equity value could be affected
                   substantially by the outcome of the proceeding or whose claims the trade association is
                   pursuing in a representative capacity, or state that there is no such member:




             6.    Does this case arise out of a bankruptcy proceeding?                                □ YES□    ✔ NO
                   If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
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                   If yes, the United States, absent good cause shown, must list (1) each organizational
                   victim of the criminal activity and (2) if an organizational victim is a corporation, the
                   parent corporation and any publicly held corporation that owns 10% or more of the stock
                   of victim, to the extent that information can be obtained through due diligence.




                        /s/ M. Scott Stevens
             Signature: ____________________________________                       Date: ___________________
                                                                                                8/28/23

                          Appellants
             Counsel for: __________________________________




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                        UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                               DISCLOSURE STATEMENT

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            x    Counsel has a continuing duty to update the disclosure statement.


                23-1850
            No. __________             Caption: Honeywell
                                                __________________________________________________
                                                          International Inc., et al v. OPTO Electonics Co., Ltd.

            Pursuant to FRAP 26.1 and Local Rule 26.1,

            ______________________________________________________________________________
            Metrologic Instruments, Inc.
            (name of party/amicus)

            ______________________________________________________________________________

             who is _______________________,
                              appellant           makes the following disclosure:
            (appellant/appellee/petitioner/respondent/amicus/intervenor)


            1.      Is party/amicus a publicly held corporation or other publicly held entity? □ YES □
                                                                                                     ✔ NO



            2.      Does party/amicus have any parent corporations?                               □✔ YES □NO
                    If yes, identify all parent corporations, including all generations of parent corporations:
                     Honeywell International Inc.




            3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                    other publicly held entity?                                              □
                                                                                             ✔ YES □ NO
                    If yes, identify all such owners:

                     Honeywell International Inc.




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             4.    Is there any other publicly held corporation or other publicly held entity that has a direct
                   financial interest in the outcome of the litigation?                          □ YES □   ✔ NO
                   If yes, identify entity and nature of interest:




             5.    Is party a trade association? (amici curiae do not complete this question)    □ YES □✔ NO
                   If yes, identify any publicly held member whose stock or equity value could be affected
                   substantially by the outcome of the proceeding or whose claims the trade association is
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                   If yes, the United States, absent good cause shown, must list (1) each organizational
                   victim of the criminal activity and (2) if an organizational victim is a corporation, the
                   parent corporation and any publicly held corporation that owns 10% or more of the stock
                   of victim, to the extent that information can be obtained through due diligence.




                        M. Scott Stevens
             Signature: ____________________________________                       Date: ___________________
                                                                                                8/28/23

                          Appellants
             Counsel for: __________________________________




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                               JURISDICTIONAL STATEMENT

              On April 20, 2023, the U.S. District Court for the Western District of North

        Carolina sua sponte granted partial summary judgment for OPTO on Honeywell’s

        claim for breach of the representation and warranty of § 5.1 of an Agreement

        between Honeywell and OPTO. JA528. The parties tried Honeywell’s remaining

        claim for breach of § 4.3 of the Agreement to a jury. The jury agreed with Honeywell

        and returned a verdict finding that OPTO had breached § 4.3 of the Agreement.

        JA781. The district court held a separate bench trial on OPTO’s counterclaim for

        patent misuse and awarded judgment to Honeywell. JA1683–1684. The court

        entered final Judgment consistent with the jury verdict and decision in the bench trial

        on July 20, 2023 (JA783), and entered an Amended Judgment on July 26, 2023,

        awarding Honeywell damages of $859,741. JA787. On September 27, 2023, the

        court denied Honeywell’s motion for fees and costs and OPTO’s post-judgment

        motions. JA1813. Honeywell timely appealed to this Court on August 14, 2023 and

        October 2, 2023. JA1688; JA1814. Honeywell also timely appealed to the U.S. Court

        of Appeals for the Federal Circuit on October 27, 2023. JA1820.

              Because OPTO’s operative pleading included a compulsory counterclaim

        alleging patent unenforceability (JA3242–3244), and for the reasons set forth in

        Honeywell’s motion to dismiss or transfer (Dkts. 32, 38), the Federal Circuit has

        exclusive jurisdiction over this appeal under 28 U.S.C. §1295(a)(1). Should the


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        Federal Circuit not have exclusive jurisdiction, then jurisdiction would be proper in

        this Court under 28 U.S.C. § 1294(1).




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                                     ISSUES PRESENTED

              1.     As a jury found, OPTO breached an Agreement with Honeywell that

        resolved an earlier legal dispute between them. In the underlying action, Honeywell

        sought to recover damages for OPTO’s breach. Before trial, however, the district

        court ruled sua sponte on summary judgment that both the Agreement and

        Honeywell’s pleadings foreclosed Honeywell’s pursuit of all available remedies for

        OPTO’s breach. First, the court ruled that the Agreement’s optional audit procedure

        is the exclusive remedy available to Honeywell, despite that the Agreement contains

        no “expression of exclusivity” (as required by Delaware law) and despite that the

        Agreement says, “the parties shall have all remedies available to them under

        applicable law.” JA6446. Second, the court ruled that Honeywell’s Complaint

        sought relief only under the audit provision, despite allegations pleading broad

        entitlement to all available remedies to “recover damages resulting from Defendant’s

        breach of the License and Settlement Agreement.” JA57. Did the district court err

        by ruling sua sponte on summary judgment, with no opportunity for Honeywell to

        respond, that Honeywell is foreclosed from pursuing all available remedies for

        OPTO’s breach of the Agreement?

              2.     After (erroneously) ruling that Honeywell’s exclusive remedy for

        OPTO’s breach of the representation is the audit procedure, the district court ruled,

        sua sponte on summary judgment, that Honeywell had no right to any recovery under


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        the Agreement’s audit provision. Because the court’s ruling occurred sua sponte on

        summary judgment, with no opportunity for Honeywell to respond, the district court

        did not hear or consider the many genuine disputes of material fact that preclude

        summary judgment, including (1) that OPTO frustrated the purpose of the audit,

        (2) that Honeywell substantially complied with the audit procedure, and (3) that

        OPTO waived any challenge to Honeywell’s conducting the audit. Did the district

        court err by ruling sua sponte on summary judgment that Honeywell is not entitled

        to recovery for OPTO’s breach under the audit provision of the Agreement?

              3.     Section 4.7 of the Agreement states: “In the event a Party must institute

        an action to collect any overdue payments, that Party shall be entitled to its fees and

        costs incurred with respect to such an action.” JA6439. Honeywell prevailed on all

        issues addressed at the jury trial and bench trial and thus sought “its fees and costs

        incurred with respect to such [] action” under § 4.7. But the district court ruled that

        the Agreement does not permit any recovery of Honeywell’s fees and costs. Did the

        district court err in concluding that the Agreement does not provide for fees and costs

        where the Agreement expressly states otherwise?




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                                 STATEMENT OF THE CASE

              Reversal is needed to correct a manifestly unjust result in which, despite a jury

        finding that OPTO breached an Agreement by underreporting its product sales to

        Honeywell, the district court sua sponte awarded OPTO summary judgment that

        Honeywell could have no remedy for OPTO’s breach of its representation and

        warranty regarding past sales. And what’s more, after Honeywell prevailed at trial

        on the remaining issues, the district court denied Honeywell any fees and costs

        despite that the Agreement expressly awards “fees and costs incurred” in an action

        to recover unpaid royalties.

        I.    The Parties.

              Honeywell is a worldwide leader in the barcode scanning industry.

        Honeywell’s patented technology has revolutionized the barcode scanning industry

        by providing increased scanning speed and efficiency. OPTO (sometimes referred

        to as OPTICON or Opticon) also manufactures and sells barcode scanning products.

              In May 2019, Honeywell filed two patent infringement actions against

        OPTO—one in the Delaware district court and one in the U.S. International Trade

        Commission (“ITC”) asking the Commission to prohibit importation of infringing

        OPTO products. JA2082; JA870.

              On January 22, 2020, counsel and corporate representatives from each party

        mediated the dispute. The parties reached an agreement in principle and, during the



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        weeks that followed, negotiated the terms of the settlement. Ultimately, the parties

        executed the License and Settlement Agreement at issue in this appeal (the

        “Agreement”). JA6432–6446. The Agreement resulted from weeks of negotiation

        between two sophisticated parties, a world-renowned patent mediator, and law firms

        well versed in patent litigation.

        II.   The Parties’ Agreement.

              In the Agreement, OPTO agreed to pay Honeywell (1) $9 million over two

        installments for a past release and (2) an ongoing royalty of 7% of sales of 2D

        Barcode Products for a forward-looking license and covenant not to sue. JA6437–

        6438. OPTO confirmed that the $9 million for the past release was predicated on the

        amount of past sales—$102 million—that OPTO represented and warranted in § 5.1.

        JA6440–6441. OPTO’s representation and warranty states:

              OPTICON further represents and warrants that OPTICON Gross
              Revenue of 2D Barcode Products in (i) the United States for the past
              six (6) years and (ii) Europe and Japan for the past five (5) years, totals
              not more than one hundred and two million U.S. Dollars
              ($102,000,000).

        JA6440. Section 5.1 provides safeguards that allow Honeywell to verify OPTO’s

        representation. The safeguards include: (1) OPTO providing Honeywell’s outside

        counsel with the underlying sales records and (2) an optional audit that Honeywell

        could pursue. The Agreement recites:




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              [(1)] OPTICON will provide sales reports to HONEYWELL’S outside
              counsel pursuant to the governing ITC Investigation Protective Order
              such that the above worldwide Opticon Gross Revenue can be verified.

              [(2)] HONEYWELL INTERNATIONAL, through an independent
              certified public accounting firm, shall have the right, at HONEYWELL
              INTERNATIONAL’s expense, to audit OPTICON’s records for the
              purpose of determining the accuracy of OPTICON's worldwide
              sales . . . Such audit may be conducted no more than one (1) time within
              one (1) calendar year of the Effective Date.

        JA6440–6441. Section 5.1 also provides a liquidated-damages remedy if the audit

        showed that OPTO underreported its sales:

              Should an audit show OPTICON Gross Revenue of 2D Barcode
              Products in (i) the United States for the past six (6) years and (ii) Europe
              and Japan for the past five (5) years in excess of one hundred and seven
              million U.S. Dollars ($107,000,000), OPTICON shall (i) pay to
              HONEYWELL INTERNATIONAL 8.8% of the difference between
              the audited OPTICON Gross Revenue of 2D Barcode Products and
              $102,000,000 and (ii) reimburse HONEYWELL INTERNATIONAL
              for the reasonable cost of such audit.

        JA6441. Because Honeywell did not have OPTO’s sales information at the time,

        Honeywell insisted that OPTO make this representation and warranty and allow

        these safeguards so outside counsel and an auditor could verify the representation.

              Section 4.3 of the Agreement sets forth the terms of OPTO’s second payment

        obligation—an ongoing running royalty. JA6438. In exchange for a license to

        Honeywell’s U.S. patent portfolio for OPTO’s 2D Barcode Products and a covenant

        not to sue for OPTO’s 1D Barcode Products, OPTO agreed to pay Honeywell a




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        royalty of 7% of its U.S. sales of 2D Barcode Products. JA6438. The Agreement

        defined 2D Barcode Products as follows:

               1.4 2D Barcode Products. The term “2D Barcode Products” shall
               mean any device or article of manufacture that is operable to decode at
               least one or more two-dimensional barcode symbologies into human-
               readable text. Two-dimensional (“2D”) barcode symbologies include,
               but are not limited to, any two-dimensional barcode symbology defined
               by one or more standards settings organizations such as the
               International Organization for Standardization (ISO), International
               Electrotechnical Commission (IEC), and the Association for Automatic
               Identification and Mobility (AIM). For the avoidance of doubt, the term
               “2D Barcode Products” shall include Engines and other products that
               include a 2D image sensor and are capable of outputting a 2D image
               that may be used to decode a 2D barcode symbology into human-
               readable text.

        JA6434. Simply put, the provision defines 2D Barcode Product as including any

        product operable to decode at least one two-dimensional barcode symbology.

               The Agreement also provides certain provisions in the event the Agreement

        is breached, including §§ 4.7 and 9.8. Section 4.7 provides that “[i]n the event a

        Party must institute an action to collect any overdue payments, that Party shall be

        entitled to its fees and costs incurred with respect to such an action.” JA6439. And

        § 9.8 states that “the Parties shall have all remedies available to them under

        applicable law.” JA6446.

        III.   OPTO Breached The Agreement.

               Over the next year, it became apparent to Honeywell that OPTO had

        underreported its sales figures recited in the representation and warranty.



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              Foremost, OPTO failed to timely provide the required sales reports upon the

        Agreement’s execution. Honeywell had to demand the report. In doing so,

        Honeywell also told OPTO it was “in the process of determining whether it will audit

        Opticon’s records as contemplated by the [Agreement], and [that] gathering the sales

        reports is a necessary first step.” JA4912. On September 16, 2020—nearly eight

        months tardy—OPTO finally provided just a subset of the required sales reports,

        which caused Honeywell concern that relevant products had been omitted. JA4915.

        Honeywell’s counsel immediately asked about the completeness of the reports.

        JA4924–4926. But despite OPTO confirming that it would provide complete sales

        reports by the end of the next week (JA4918), OPTO never provided them.

              On December 16, 2020, Honeywell sent OPTO a notice letter invoking the

        optional audit process. JA4928.1 Despite the auditor asking OPTO for its sales data

        multiple times, OPTO did not begin providing that data to the auditor until nearly a

        month later, on January 15, 2021. OPTO ultimately did not provide complete sales

        information to the auditor until March 31, 2021 (more than three months after

        Honeywell had initiated the audit). JA4941; JA5189; JA5251–5252. Between

        January 15 and March 31, 2021, OPTO and the auditor exchanged nearly one

        hundred emails regarding the audit and OPTO’s sales data.



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          Given the state of the pandemic at the time in Japan, the audit was conducted
        remotely, not in person.

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              After the audit, Honeywell notified OPTO of the outcome. JA6934. The audit

        found that OPTO’s gross revenue was more than                   in excess of the $102

        million that OPTO had represented in § 5.1. JA6934. The audit also found that

        OPTO likewise had been underpaying the running royalties owed to Honeywell

        under § 4.3. JA6935. Honeywell requested that OPTO comply with the liquidated-

        damages provision and make the necessary payment to Honeywell. JA6934;

        JA7111. But OPTO refused.

        IV.   Honeywell Pursued All Available Remedies For OPTO’s Breach.

              On September 24, 2021, Honeywell brought the underlying action for breach

        of contract. JA51–63. Among other things, Honeywell sought relief for OPTO’s

        breach of the § 5.1 representation and warranty regarding its past sales and for breach

        of § 4.3 due to OPTO’s underpayment of its ongoing royalty obligations. JA56–57.

              Honeywell’s Complaint pleaded broad relief. For example, Honeywell

        pleaded that “Opticon breached its representation under Section 5.1” and that

        “Opticon has not paid, and continues to fail to pay, the full royalty delineated in

        Section 4 of the Agreement.” JA56. Honeywell further pleaded that “Honeywell has

        been and continues to be damaged as a result of Opticon’s breach” and that

        “Honeywell is entitled to recover damages resulting from Opticon’s breach of the

        Agreement.” JA56. In the Prayer for Relief, Honeywell requested standard breach




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        of contract damages such as “damages resulting from Defendant’s breach of the

        [Agreement].” JA57.

              During discovery, Honeywell learned that OPTO’s underreported sales

        exceeded the amount uncovered by the audit, by another

                    in underreported sales discovered through the audit). Thus, Honeywell

        averred that the extent of OPTO’s breach and resulting damages to Honeywell were

        greater than just what the audit uncovered. JA4815–4819.

              During discovery, Honeywell made clear that it sought two alternative forms

        of relief based on OPTO’s breach of its past-sales representation: (1) the liquidated-

        damages remedy stemming from the audit set forth in § 5.1, and alternatively

        (2) damages for OPTO’s breach independent of the audit remedy. For example,

        Honeywell’s response to OPTO’s contention Interrogatory No. 4 specifically

        identified both theories. JA4815–4819. And during expert discovery, Honeywell’s

        damages expert similarly analyzed the damages owed to Honeywell both under the

        liquidated-damages provision and independently of the audit provision. JA4856–

        4860. At every stage of the case, from the initial Complaint through fact discovery

        and expert discovery, Honeywell communicated to OPTO that it sought (1)

        liquidated damages based on the audit and, alternatively, (2) damages for OPTO’s

        breach independent of the audit remedy.




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        V.    The District Court Entered Partial Summary Judgment, Sua Sponte,
              For OPTO.

              Honeywell and OPTO each submitted two competing summary judgment

        motions: one regarding interpretation of certain contractual provisions (JA125;

        JA131) and one regarding OPTO’s counterclaim of patent misuse (JA4576; JA487).

              It became clear that the parties disputed the definition of 2D Barcode

        Products. Honeywell interpreted the term as expressly defined in the Agreement,

        covering “any device or article of manufacture that is operable to decode at least one

        or more two-dimensional barcode symbologies into human-readable text,”

        regardless of the underlying scanning hardware. JA125. OPTO, however, sought to

        limit the express definition to only products that both have an image sensor and are

        operable to decode two-dimensional barcode symbologies. See, e.g., JA4270. The

        district court sided with Honeywell and found the definition of 2D Barcode Products

        to be unambiguous, meaning it was not limited to only products with an image

        sensor. JA522; JA545.

              Honeywell also moved for summary judgment on whether the audit was a

        condition precedent to bringing suit. JA3967–3970. As part of OPTO’s defenses, it

        alleged that Honeywell was required to conduct and complete an audit within one

        year of the Effective Date as a condition precedent to bringing suit. JA3222–3224.

        But OPTO did not cross-move on this issue or seek any ruling that Honeywell

        violated the provision.

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              At the summary judgment hearing, it appeared that the district court and

        Honeywell had a mutual understanding—the optional audit was not a condition

        precedent to Honeywell seeking relief untethered to liquidated damages. The court

        stated: “I’m fairly well persuaded that Honeywell had the right to sue Opticon for

        breach for that warranty for whatever reason.” JA5464. The court then said:

              Isn’t it entirely reasonable for Honeywell to be able to bring suit for
              breach of the representation and warranty in 5.1, but not be permitted
              the remedy provided in 5.1 because they didn’t conduct the audit within
              the required year? Some other remedy for breach of warranty, sure. But
              not the one that’s delineated in 5.1 itself. . . .

              Just reading 5.1, [Honeywell] can’t take advantage of the remedy in 5.1
              without conducting the audit within the one year as described in 5.1.
              But I don’t think that that’s the only way [Honeywell] had a right to sue
              for breach of rep and warranty.

        JA5471–5472.

              Despite the court’s statements at the hearing, it reversed course and sua sponte

        granted summary judgment for OPTO on Honeywell’s claim for breach of the

        representation and warranty. JA522; JA545. In doing so, the court held that to

        recover for OPTO’s breach of the representation, Honeywell needed to conduct an

        audit and complete it within one year of the Agreement’s effective date. JA523–524.

        The court also found—without having all the relevant facts from either party

        regarding the performance of the audit (as that question was not the subject of any

        summary judgment motion)—that Honeywell did not comply because it did not

        complete the audit within the one-year time frame. JA523–524.

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              Second, the district court found that “it would be inappropriate for the Court

        to allow” Honeywell to pursue a claim for breach of the representation and warranty

        “against OPTO completely untethered to the Agreement’s audit remedy.” JA526.

        The district court ruled that the audit remedy was the exclusive remedy for breach

        under § 5.1. JA526–527. And because Honeywell allegedly did not complete the

        audit within one year, the court ruled that Honeywell deserved no remedy for

        OPTO’s § 5.1 breach. JA528. The court also ruled that Honeywell had not sought

        relief independent of the audit until the day of oral argument. JA525. The court based

        its ruling on a narrow construction of Honeywell’s Complaint and without the

        benefit of the parties’ discovery responses and Honeywell’s expert report—again,

        because OPTO had never moved on that question.

              Given the sua sponte nature of the Order, Honeywell moved for

        reconsideration and filed an Offer of Proof. JA546; JA4742. In the motion,

        Honeywell provided the relevant facts and applicable law. For example, Honeywell

        detailed the performance of the audit and highlighted that OPTO delayed providing

        its sales reports to Honeywell. JA4758–4760. Honeywell further identified where it

        pleaded broad relief in the Complaint and provided its discovery responses and

        expert report showing that it had consistently sought relief independent of the audit

        remedy. JA4749–4754. Honeywell also provided the relevant Delaware law

        requiring that, for a remedy to be an exclusive remedy under Delaware law, there


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        must be an explicit statement in the contract saying so. JA4754–4756. Due to the

        sua sponte nature of the court’s findings, it did not have any of these facts or

        supporting law when it awarded summary judgment to OPTO.

              The district court denied Honeywell’s motion for reconsideration, declining

        to address the substance of any of the provided facts or law. JA565.

        VI.   Honeywell Prevailed At Trial.

              The parties proceeded to a jury and bench trial on the remaining issues:

        Honeywell’s claim for breach of OPTO’s running royalty and OPTO’s

        counterclaims of breach of the implied covenant of good faith and fair dealings and

        patent misuse.

              At the jury trial, one of the key disputes was which OPTO products qualified

        as 2D Barcode Products (regardless of whether they were sold prior to or after the

        Agreement). OPTO sought to have certain products excluded because they decoded

        only certain two-dimensional symbologies and alternatively contended that

        “PDF417” was not a two-dimensional barcode symbology. Honeywell, however,

        presented evidence showing that PDF417 is a two-dimensional barcode symbology.

        Honeywell also showed that OPTO’s own employees, marketing materials, and

        internal documents repeatedly classify PDF417-decoding products as decoding two-

        dimensional barcodes. The jury agreed with Honeywell that all the accused OPTO

        products, including PDF417-decoding products, were “2D Barcode Products” under



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        the Agreement. After receiving three days of evidence, the jury found for Honeywell

        on all claims and defenses. JA781.

              The parties then proceeded to a bench trial on OPTO’s counterclaim of patent

        misuse. After hearing both parties’ evidence, Honeywell moved for judgment under

        Rule 52(a)(1). JA1681. The Court granted Honeywell’s motion and stated its

        findings and conclusions on the record. JA1683–1684. Thus, Honeywell prevailed

        on all claims and defenses at both trials.

        VII. The District Court Issued Post-Trial Rulings Upholding The Jury Verdict
             But Denying Honeywell Its Fees And Costs Under The Agreement.

              After trial, Honeywell moved for its fees and costs under § 4.7 of the

        Agreement (JA788), and OPTO moved for relief under Rules 50(b) and 59

        (JA1712). Honeywell’s motion explained that the Agreement contains a fee-shifting

        provision: “In the event a Party must institute an action to collect any overdue

        payments, that Party shall be entitled to its fees and costs incurred with respect to

        such an action.” JA6439; see also JA798–801. Honeywell was forced to incur

        significant fees and costs to collect the overdue royalty payments.

              The district court denied the motions. JA1797. The parties timely appealed.

        JA1814; JA1817.




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                              SUMMARY OF THE ARGUMENT

              Honeywell and OPTO reached a settlement agreement resolving Honeywell’s

        claims of patent infringement. In that Agreement, OPTO represented and warranted

        that its past sales of relevant products were $102 million. But an audit later revealed

        that OPTO’s sales actually exceeded                  , prompting Honeywell to file this

        action for damages stemming from OPTO’s breach of the Agreement. Discovery

        ultimately revealed that OPTO’s sales were even higher than what the audit had

        uncovered, exceeding                 . And at trial, a jury found that OPTO indeed

        breached the Agreement.

              But before trial the district court ruled, sua sponte on summary judgment, that

        Honeywell was not entitled to any remedy for OPTO’s breach based on its

        underreported past sales—whether based on the audit provision or on the actual

        quantum of harm uncovered during discovery. The district court did so sua sponte,

        without OPTO ever having sought summary judgment on the issue and without the

        district court ever providing notice to Honeywell that it was considering entering

        summary judgment on the issue. When Honeywell sought reconsideration (and made

        an Offer of Proof), the district court held fast, even while viewing its “entry of

        summary judgment as sua sponte” and declining to address Honeywell’s evidence.

        JA567.




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              This Court should reverse the district court’s summary judgment ruling for

        two key reasons.

              First, the district court wrongly held that Honeywell could pursue no remedy

        for the full scale of OPTO’s breach uncovered during discovery. Despite noting at

        oral argument that “I’m fairly well persuaded that Honeywell had the right to sue

        Opticon for breach for that warranty for whatever reason,” the district court

        erroneously changed gears and held sua sponte that the Agreement’s audit remedy

        was the sole and exclusive remedy—even if (as discovery showed) OPTO’s breach

        exceeded what the audit uncovered. JA5464. But for a contractual remedy to be the

        sole and exclusive remedy, Delaware law requires an explicit “expression of

        exclusivity.” There is no such expression in the Agreement. In fact, § 9.8 of the

        Agreement says the opposite: “the Parties shall have all remedies available to them

        under applicable law.” JA6446.

              Also, despite correctly holding just days later that a court has a “duty to grant

        whatever relief is appropriate in the case on the basis of the facts proved even if the

        party has not demanded that relief in its pleadings” (Boykin v. United States, No.

        5:21-cv-00103-KDB, 2023 WL 3467769 at *5 (W.D.N.C. May 15, 2023)), the

        district court held here that Honeywell’s pleadings somehow forfeited all available

        remedies except the audit remedy. The law does not support that stringent view.




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              The district court’s view was also wrong on the facts. Honeywell’s Complaint

        pleaded broad relief in addition to pleading specific relief under the Agreement’s

        audit provision. Nothing in Honeywell’s Complaint justifies the court’s holding that

        Honeywell somehow waived or forfeited its available remedies. And again there was

        no basis for the district court to so conclude sua sponte on summary judgment,

        without any request by OPTO and without any notice to Honeywell. This Court

        should reverse the district court’s holding and remand for a trial on damages owed

        by OPTO for its breach of the representation and warranty in the Agreement.

              Second, the district court erroneously held in its sua sponte summary

        judgment order that Honeywell could not pursue any damages for OPTO’s breach,

        even via the audit remedy. The court construed the Agreement’s audit provision

        strictly and, on that basis, concluded that Honeywell failed to comply with the timing

        requirements, and that no jury could reasonably find otherwise. But no party moved

        for summary judgment regarding compliance or noncompliance with the timing of

        the audit, and the district court did not give Honeywell notice and an opportunity to

        respond before entering summary judgment sua sponte.

              Had Honeywell received the opportunity to brief the issue, myriad facts show

        Honeywell’s compliance or substantial compliance with all deadlines, thus

        precluding summary judgment. For example, the facts establish that (i) OPTO’s own

        actions, including delaying its required production of relevant sales information for


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        use in the audit, frustrated the purpose of the audit; (ii) Honeywell substantially

        complied with the audit procedure’s deadlines, including having collected all

        relevant materials by March 2021; and (iii) OPTO waived any challenge and

        acquiesced to Honeywell’s handling of the audit by never voicing any objection at

        the time and by participating in the audit even after the alleged deadline had passed.

        Each of these issues presents a pure issue of fact to be decided by a jury. When

        Honeywell informed the district court of these facts by way of a motion for

        reconsideration and Offer of Proof, the district court refused to even consider the

        evidence. The court did not suggest a lack of genuine factual dispute when

        confronted with the actual evidence, nor could it have soundly done so. This Court

        should therefore reverse the district court’s grant of summary judgment as to

        Honeywell’s alleged lack of compliance with the audit’s timeline.

              Lastly, and separately, this Court should reverse the district court’s denial of

        Honeywell’s post-trial request for an award of fees and costs incurred, including

        attorneys’ fees. Section 4.7 of the Agreement expressly awards “fees and costs

        incurred”: “In the event a Party must institute an action to collect any overdue

        payments, that Party shall be entitled to its fees and costs incurred with respect to

        such an action.” JA6439. The jury found that OPTO “breach[ed] the Parties’

        Settlement Agreement by failing to timely pay Honeywell all royalties due under the

        Agreement.” JA781. Under the plain language of the Agreement, the jury’s finding


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        of breach means Honeywell “shall be entitled to its fees and costs incurred.” But the

        district court denied Honeywell its fees and costs.

              The district court based its denial on the strained view that because the

        Agreement refers to “fees and costs” instead of “attorneys’ fees and costs,” the

        clause is not actually a fee-shifting provision. And the court defied Delaware law by

        additionally basing its holding on the Agreement’s lack of a reference to a

        “prevailing party.” Each of these rulings is wrong. Delaware law requires no magic

        language and instead instructs that fee-shifting provisions should be enforced as

        written. Because the district court eschewed Delaware law and incorrectly construed

        the Agreement, this Court should reverse and remand with instructions to award

        Honeywell its fees and costs, including attorneys’ fees.




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                                          ARGUMENT

        I.    The Applicable Standards Of Review.

              This court reviews “an award of summary judgment de novo.” T.H.E. Ins. Co.

        v. Davis, 54 F.4th 805, 818 (4th Cir. 2022). “Summary judgment is appropriate

        when—viewing the facts in the light most favorable to the nonmoving party—the

        movant shows that there is no genuine dispute as to any material fact and the movant

        is entitled to judgment as a matter of law.” Id. (quotation marks omitted); see also

        Fed. R. Civ. P. 56(a). A grant of summary judgment sua sponte, as occurred here, is

        appropriate only “so long as the party against whom summary judgment is entered

        has notice ‘sufficient to provide [it] with an adequate opportunity to demonstrate a

        genuine issue of material fact.’” Allstate Ins. Co. v. Fritz, 452 F.3d 316, 323 (4th

        Cir. 2006) (emphasis in original) (quoting U.S. Dev. Corp. v. Peoples Fed. Sav. &

        Loan Ass’n, 873 F.2d 731, 735 (4th Cir. 1989)).

              This dispute also involves contract interpretation. This Court reviews “de

        novo a district court’s decision on an issue of contract interpretation.” FindWhere

        Holdings, Inc. v. Sys. Env’t Optimization, LLC, 626 F.3d 752, 755 (4th Cir. 2010).

        The parties agree that Delaware law governs the Agreement.




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        II.   The District Court Erred By Ruling On Summary Judgment That Both
              The Agreement And Honeywell’s Allegations Of Breach Foreclose
              Honeywell’s Pursuit Of All Available Remedies For OPTO’s Breach.

              The district court granted summary judgment, sua sponte, that Honeywell was

        foreclosed from pursuing all usual and expected breach-of-contract remedies for

        OPTO’s breach of the Agreement. In so ruling, the district court erred in two ways.

        First, the court erred by interpreting the Agreement as providing an exclusive

        remedy—the remedy available under the audit and liquidated-damages provision in

        § 5.1. But in so ruling—sua sponte and on summary judgment, no less—the district

        court failed to analyze the strict standard for an “exclusive remedy.”2 Delaware law

        requires a clear “expression of exclusivity” in the agreement. Gotham Partners

        v. Hallwood Realty Partners, 817 A.2d 160, 176 (Del. 2002). No such expression of

        exclusivity is present anywhere in the Agreement between Honeywell and OPTO,

        and thus summary judgment was improper.

              Second, the district court erred by ruling that Honeywell’s pleadings had

        limited the requested relief solely to the audit remedy in § 5.1 rather than all

        available breach-of-contract remedies. The court ignored the plain language of

        Honeywell’s pleadings, which broadly requested relief for OPTO’s breach




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          To be sure, the district court did not have the benefit of briefing on the applicable
        standards under Delaware law because it granted summary judgment sua sponte,
        without ever providing notice that it intended to grant such relief.

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        untethered to the Agreement’s audit provision. Further, Honeywell’s discovery

        responses and expert report confirmed the breadth of the requested remedies. The

        district court’s errant conclusion—restricting Honeywell’s damages to those

        available under the audit provision—was not only legally wrong but also makes no

        logical sense because discovery revealed that the magnitude of OPTO’s breach far

        exceeded what the audit had uncovered. That is, although the audit—necessarily

        limited by the information OPTO chose to share with the auditor—revealed that

        OPTO had significantly underreported its sales of 2D Barcode Products in the

        Agreement, Honeywell learned during discovery that OPTO’s misrepresentation

        was significantly larger. The district court’s ruling precluded any recovery for

        Honeywell based on OPTO’s expanded breach exposed by the discovery process.

              This Court should reverse the award of partial summary judgment for OPTO

        and should remand with instructions that Honeywell may pursue all available

        breach-of-contract remedies associated with OPTO’s breach of the Agreement.

              A.     The District Court Violated Applicable Contract-
                     Interpretation Law by Limiting Honeywell’s Available
                     Remedies to the Audit Remedy in Section 5.1.

              OPTO never asked the district court to limit Honeywell’s remedy to the audit

        remedy in § 5.1, and the district court never notified Honeywell that it intended to

        interpret the Agreement that way. Had OPTO raised such an argument, or had the

        district court alerted Honeywell of its plans, Honeywell would have briefed the issue.



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        Honeywell would have emphasized that Delaware law requires a clear “expression

        of exclusivity,” and would have pointed out that the Agreement gives no hint—much

        less the required clear “expression of exclusivity”—that the remedies are limited.

              But the district court provided no such notice. And the court interpreted the

        Agreement as providing only one exclusive remedy in the event OPTO breached its

        representation and warranty regarding past damages—the audit provision in § 5.1.

        JA526–527. The district court so ruled despite that, for a remedy to be an exclusive

        remedy under Delaware law, there must be language expressly stating so. The

        Supreme Court of Delaware has explained: “[E]ven if a contract specifies a remedy

        for a breach of contract, ‘a contractual remedy cannot be read as exclusive of all

        other remedies [if] it lacks the requisite expression of exclusivity.’” Gotham

        Partners, 817 A.2d at 176 (quoting Oliver B. Cannon & Son, Inc. v. Dorr-Oliver,

        Inc., 336 A.2d 211, 214 (Del. 1975)). Delaware courts consistently follow the

        Delaware Supreme Court’s directive by requiring clear statements of exclusivity,

        such as a remedy provision using the words “sole and exclusive.” See, e.g., 3M Co.

        v. Neology, Inc., No. N18C-07-089, 2019 WL 2714832, at *2 (Del. Super. Ct. Jun.

        28, 2019) (finding exclusive remedy under contract specifying “the sole and

        exclusive remedy”); JCM Innovation Corp. v. FL Acquisition Holdings, No. N15C-

        10-255, 2016 WL 5793192, at *6 (Del. Super. Ct. Sept. 30, 2016) (same).




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              There is no language in § 5.1 of the Agreement expressly stating—or even

        hinting—that the audit remedy is the exclusive remedy for a breach of a

        representation. Section 5.1 merely provides one available remedy where the optional

        audit is conducted and identifies a qualifying discrepancy: “should an audit show

        [gross revenues exceeding $107,000,000], OPTICON shall [pay Honeywell 8.8% of

        the difference and reimburse Honeywell for the audit].” JA6441. Nothing in the

        Agreement states that the audit remedy is the exclusive remedy.

              Not only does the Agreement lack the required clear expression of exclusivity,

        it expressly confirms the opposite. Section 9.8 states that “the Parties shall have all

        remedies available to them under applicable law.” JA6646 (emphasis added).

        Delaware courts have found that language like that in § 9.8 makes clear that remedies

        set forth in a contract are nonexclusive. Leaf Invenergy Co. v. Invenergy Renewables

        LLC, 210 A.3d 688, 704, n.54 (Del. 2019) (provision stating “[a]ll remedies

        hereunder are cumulative and are not exclusive of any other remedies provide by

        law” expressly provides that the remedies set forth in the contract are nonexclusive).

              At the summary judgment hearing, the district court judge acknowledged that

        the audit remedy was not an exclusive remedy for a breach of § 5.1. The judge stated:

        “I’m fairly well persuaded that Honeywell had the right to sue Opticon for breach

        for that warranty for whatever reason, including an audit.” JA5464. He also said:

              Isn’t it entirely reasonable for Honeywell to be able to bring suit for
              breach of the representation and warranty in 5.1, but not be permitted

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              the remedy provided in 5.1 because they didn’t conduct the audit within
              the required year? Some other remedy for breach of warranty, sure. But
              not the one that’s delineated in 5.1 itself. . . .

              Just reading 5.1, [Honeywell] can’t take advantage of the remedy in 5.1
              without conducting the audit within the one year as described in 5.1.
              But I don’t think that that’s the only way they had a right to sue for
              beach of rep and warranty.

        JA5471–5472 (emphasis added). Despite recognizing that the audit remedy was not

        Honeywell’s exclusive remedy, and despite the Agreement never limiting

        Honeywell’s available remedies, the court’s written ruling held the opposite: “the

        Agreement precludes a claim of breach related to the reporting of sales in Section

        5.1 outside of the agreed detailed process for pursuing additional payments.” JA526.

              The district court did not base that holding on “clear statements of

        exclusivity”—none exist. Instead, the district court relied on the fact that

        Honeywell’s damages theory sought 8.8% of the difference in actual versus

        represented OPTO gross revenue of 2D Barcode Products, which happens to match

        the percentage in the audit provision. JA525–527. That the royalty rate sought by

        Honeywell matched the royalty rate in the audit provision does not justify the district

        court’s conclusion that the audit provision is an exclusive remedy. Rather, it supports

        the reasonableness of Honeywell’s damages theory (i.e., that Honeywell’s damages

        demand is based on the same royalty rate that the parties had agreed to in other

        sections of the Agreement).




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              To be sure, in exchange for a past release, OPTO agreed to pay $9 million for

        sales of not more than $102 million of 2D Barcode Products, which results in an

        implied royalty of 8.82% (which Honeywell rounded down to 8.8%). JA4851; see

        also JA4752. Even OPTO agreed that the basis of the $9 million payment was

        OPTO’s $102 million gross revenue representation and warranty. See JA3222

        (“OPTO’s represented Gross Revenue was used to calculate the amount of the Initial

        and Second Payments OPTO made to Honeywell pursuant to Section 4.2 of the

        Agreement.”). Thus, in calculating the damages Honeywell sought in the underlying

        litigation outside of the audit remedy, Honeywell intended to present an 8.8%

        royalty rate as the appropriate quantum of damages—not because of the audit’s

        liquidated-damages formula, but because 8.8% formed the basis of the lump-sum

        payments when settling the underlying litigations. The jury would have been free to

        accept or reject that percentage as the correct quantum.

              It should come as no surprise that the actual damages number and the

        liquidated-damages formula are similar. Under Delaware law, liquidated damages

        must be a “reasonable estimate of the damages which would probably be caused by

        the breach or is reasonably proportionate to the damages which have actually been

        caused by the breach.” S.H. Deliveries, Inc. v. TriState Courier & Carriage, Inc.,

        No. 96C-02, 1997 WL 817883, at *2 (Del. Super. Ct. May 21, 1997). That the two

        calculations lead to almost the same amount is not an “end run around” the audit


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        provision as the district court ruled, but instead is evidence that Honeywell’s actual

        damages calculation is reasonable. JA525–526. During the underlying litigation,

        OPTO was free to assert that a different amount was appropriate, but OPTO never

        challenged the appropriateness of Honeywell’s remedy calculation and OPTO never

        presented an alternative calculation.

              Accordingly, because the Agreement contains no clear “expression of

        exclusivity”—and explicitly states the opposite, that “the parties shall have all

        remedies available to them under applicable law”—the audit remedy set forth in

        § 5.1 cannot be and is not the exclusive remedy under Delaware law for OPTO’s

        breach of its representation and warranty. The district court had it right during oral

        argument but erred as a matter of law in its written decision. The error warrants

        reversal of the summary judgment order and a remand for Honeywell to pursue its

        damages theory.

              B.     The District Court Incorrectly Concluded That Honeywell’s
                     Complaint Pleaded Limited Relief Rather Than All
                     Available Remedies for OPTO’s Breach of the Agreement.

              Since day one of this litigation, including during fact and expert discovery,

        Honeywell pleaded and sought relief for OPTO’s breach under two separate

        theories: (1) based on § 5.1’s liquidated-damages provision relating to the audit

        process, and alternatively, (2) based on general breach remedies, uncoupled from the

        Agreement’s optional audit provision. Had the district court provided notice to



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        Honeywell that it intended to grant summary judgment on this issue, Honeywell

        would have informed the district court of the relevant facts and law.

              Under controlling law, pleadings are interpreted liberally, especially with

        respect to damages. The judge recognized this principle when, just days later, he

        issued an opinion applying this Court’s holding that courts have a “‘duty to grant

        whatever relief is appropriate in the case on the basis of the facts proved’ even if the

        party has not demanded that relief in its pleadings, and ‘[t]he pleadings serve only

        as a rough guide to the nature of the case.’” Boykin, 2023 WL 3467769 at *5 (quoting

        Robinson v. Lorillard Corp., 444 F.2d 791, 803 (4th Cir. 1971)). Moreover, this

        Court has explained that “Rule 54(c) . . . commands that the trial court shall grant

        the relief to which the party in whose favor it is rendered is entitled, even if the party

        has not demanded such relief in the party’s pleadings.” Id. (quoting Gilbane Bldg.

        Co. v. Fed. Rsrv. Bank of Richmond, 80 F.3d 895, 901 (4th Cir. 1996)). Here,

        Honeywell’s Complaint did not artificially limit the remedies sought, but instead

        pleaded broad entitlement to all available remedies to “recover damages resulting

        from Defendant’s breach of the License and Settlement Agreement.” JA57.

              In the Complaint, Honeywell broadly pleaded that OPTO had breached the

        representation and warranty of § 5.1, stating in paragraph 33 of the Complaint that

        “Opticon breached its representation under Section 5.1 of the Agreement.” JA56.

        And Honeywell sought relief for OPTO’s breach not only under the liquidated-


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        damages provision of Section 5.1 (in paragraph 34 of the Complaint) but also more

        broadly (in paragraphs 38 and 39 and in the Prayer for Relief):

              38. Honeywell has been and continues to be damaged as a result of
              Opticon’s breach.
              39. Honeywell is entitled to recover damages resulting from Opticon’s
              breach of the Agreement.
                                               ***
              WHEREFORE, Honeywell prays for the entry of a judgment from this
              Court in its favor and against Opticon and respectfully requests the
              following relief:
              a) That Honeywell recover damages resulting from Defendant’s
                 breach of the License and Settlement Agreement.

        JA56–57. The Complaint never forfeited damages beyond just those allowed under

        the audit provision.

              Honeywell kept this same tune during discovery. Honeywell expressly

        confirmed that it was seeking relief not limited to the liquidated-damages provision.

        For example, Honeywell’s response to OPTO’s contention interrogatories, timely

        served during the fact discovery period, provided:

              [OPTO’S] INTERROGATORY NO. 4
              State your contention regarding whether any party to the Action is
              entitled to any damages or relief in this Action, setting forth all facts
              upon which You base Your contention and identifying all Documents
              and other evidence that support Your contention.

              [HONEYWELL’S] RESPONSE TO INTERROGATORY NO. 4
              ....
              Under § 5.1 of the Settlement Agreement, Honeywell is entitled to
              damages for OPTO’s breach of its representation and warranty of the



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              amount of OPTICON Gross Revenue of 2D Barcode Products sold
              prior to the Effective Date.
              ….
              First, . . . Based on the audit, Honeywell understands that over the
              relevant time period, OPTO received revenues of at least . . . for the
              sale of these 2D Barcode Products . . . . This amounts to a total revenue
              of                     in excess of the $102,000,000 that OPTO
              represented was the Gross Revenue for its 2D Barcode Products during
              the relevant timeframe. Honeywell is entitled to 8.8% of the difference
              between the audited Gross Revenue of 2D Barcode Products and
              $102,000,000 and reimbursement for the reasonable cost of the audit.
              ...
              Second, OPTO breached its representation and warranty
              independently of the audit. This is material breach of a material
              representation and warranty. OPTO represented and warranted that the
              gross revenue of its 2D Barcode Products in the 6 years preceding the
              Effective Date in the United States and the 5 years preceding the
              Effective Date for Japan and Europe was not more than $102,000,000.
              But through sales records produced in this litigation, sales of such
              products are materially higher . . . . Based on preliminary calculations,
              that equates to sales of 2D Barcode Products during the relevant time
              period of over                               above the representation and
              warranty. OPTO therefore owes Honeywell 8.8% of that difference, or
              more than         ....

        JA4815–4817 (emphasis added). Through at least the Complaint and Honeywell’s

        discovery responses, OPTO had long been on notice that Honeywell sought broad

        relief for OPTO’s breach.

              The parties conducted full discovery on both allegations. Discovery revealed

        that the actual damages were far greater than the audit had revealed. The audit was

        limited to certain products and identified only              in underreported sales.

        JA4816–4817. But during discovery, OPTO produced all of its sales, which revealed

        sales of 2D Barcode Products more than                 in excess of the $102 million

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        representation. JA4817. It would be both illogical and manifestly unjust to allow

        OPTO to misrepresent its gross revenue to Honeywell and have no consequence for

        the additional sales uncovered only in discovery outside of and after the audit

        process. No aspect of the Agreement or any legal precedent precludes Honeywell

        from pursuing relief for the full extent of OPTO’s breach of its representation and

        warranty. See Gilbane, 80 F.3d at 901 (“Rule 54(c) . . . commands that the trial court

        shall grant the relief to which the party in whose favor it is rendered is entitled”).

        But that is what the district court ruled here.

               The court erred as a matter of law by holding that the Complaint was limited

        to the liquidated-damages remedy. That decision should be reversed and the case

        remanded for trial of Honeywell’s damages claim.

        III.   The District Court Erred By Ruling On Summary Judgment That
               Honeywell Did Not Show Entitlement To Recovery Even Under The
               Agreement’s Audit Provision.

               As discussed in the previous section, the district court erred by foreclosing

        Honeywell from pursuing all available remedies for OPTO’s breach of the

        Agreement. The court wrongly limited Honeywell’s recovery to that provided by the

        Agreement’s audit provision in § 5.1. But when the district court analyzed

        Honeywell’s recovery under the audit provision, the district court again erred by




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        awarding OPTO summary judgment, sua sponte, that Honeywell had failed to meet

        the timelines in the audit provision. 3

              The effect of the district court’s rulings—wrongly limiting Honeywell’s

        available remedies to only the Agreement’s audit remedy (see section II, supra) and

        then concluding that Honeywell is not even entitled to the audit remedy (as discussed

        in this section)—is that Honeywell received no remedy at all for OPTO’s breach of

        its representation and warranty concerning its past sales. But the jury has already

        decided that a breach occurred, and discovery showed that OPTO significantly

        misrepresented its past sales. The district court erred by not allowing Honeywell to

        recover any remedy at all—not even the audit remedy—for OPTO’s breach. The

        district court’s rulings allowed OPTO to avoid any consequence for its

        transgressions. That is wrong as a matter of law, not to mention fundamental

        fairness. The district court’s ruling, made sua sponte and at the summary judgment

        stage, should be reversed.

              As described below, there are myriad facts in dispute that the district court

        sidestepped when it ruled on summary judgment. Honeywell sought to correct the



        3
          This Court should reverse and remand if it agrees with Honeywell as to either
        argument—meaning the arguments presented in Sections II or III. But to be clear,
        only the relief requested in Section II affords Honeywell a remedy for the full extent
        of OPTO’s breach. The remedy in Section III does not account for the additional
        $30-plus million in underreported sales identified only in discovery and not during
        the audit.

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        court’s errors through a motion for reconsideration and Offer of Proof, but the court

        refused even to consider the evidence. Thus, in the end, the district court’s failure to

        provide notice to Honeywell of its intent to sua sponte grant summary judgment

        regarding the factual question of whether Honeywell complied (completely or at

        least substantially) with the audit provision constitutes an independent error that

        warrants reversal. Had the district court provided Honeywell with the requisite

        notice, Honeywell would have raised significant questions of fact for the jury to

        decide, including (1) that OPTO frustrated the purpose of the audit, (2) that

        Honeywell substantially complied with the audit procedure, and (3) that OPTO

        waived any challenge and acquiesced to Honeywell’s handling of the audit—each

        of which is a question of fact.

              Under Rule 56(f), a district court must give a party (here Honeywell) “notice

        and a reasonable time to respond” before granting summary judgment “for a

        nonmovant,” granting the motion “on grounds not raised by a party,” or considering

        summary judgment “on its own after identifying for the parties material facts that

        may not be genuinely in dispute.” None of those things happened here. OPTO never

        moved for summary judgment on whether Honeywell failed to comply with the audit

        schedule, nor on any related issue such as whether OPTO’s own actions frustrated




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        Honeywell’s ability to comply with that schedule.4 If OPTO had moved for summary

        judgment on the issue, Honeywell would have identified key facts showing that

        summary judgment was not warranted, including those identified by Honeywell in

        its Offer of Proof (which includes the three issues enumerated above, each of which

        is explained below). See JA4742–4768.

              The district court acknowledged that its summary judgment ruling occurred

        sua sponte. See JA567 (explaining that the court would consider its “entry of

        summary judgment as sua sponte”). But when Honeywell raised the court’s error in

        a motion for reconsideration and Offer of Proof, the court refused to even account

        for Honeywell’s evidence. Together the court’s rulings deprived Honeywell of any

        relief for OPTO’s breach, even the audit remedy in § 5.1.

              This Court frequently overturns sua sponte grants of summary judgment

        where a party is “not afforded the requisite opportunity to demonstrate an issue of

        material fact regarding the [granted ground].” Jehovah v. Clarke, 798 F.3d 169, 177

        (4th Cir. 2015); see also, e.g., Richardson v. Clarke, 52 F.4th 614, 623–24 (4th Cir.

        2022). Here, the district court’s sua sponte grant of summary judgment stripped




        4
          Honeywell, and only Honeywell, moved for an “order granting partial summary
        judgment that the License and Settlement Agreement does not require an
        independent audit as a condition precedent for filing a breach-of-contract action.”
        JA126. Honeywell’s motion did not address compliance with the audit provision’s
        schedule (for there was no need to do so), and OPTO made no such motion itself.

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        Honeywell of its opportunity to demonstrate the genuine disputes of material fact

        showing entitlement to recovery under the audit provision in § 5.1 of the Agreement.

        Reversal is warranted.

              A.    The District Court Ignored That OPTO Frustrated the
                    Purpose of Honeywell’s Audit, That Honeywell
                    Substantially Complied With the Audit Provision, and That
                    OPTO Waived or Acquiesced to Honeywell’s Handling of
                    the Audit.

              The district court’s sua sponte ruling ignored three key issues, each of which

        is addressed below, and each of which involves genuine disputes of material fact

        that preclude summary judgment.

              OPTO Frustrated the Purpose of Honeywell’s Audit by Delaying Providing

        the Requisite Materials. The district court’s sua sponte summary judgment ruling

        stripped Honeywell of its ability to present its frustration-of-purpose argument,

        which involves a pure question of fact. Harper v. Del. Valley Broad., Inc., 743 F.

        Supp. 1076, 1090 (D. Del. 1990). There are numerous genuine disputes of material

        fact as to that question, precluding summary judgment.

              Under Delaware law, “[t]he frustration of purpose defense requires the [party]

        to establish: (1) substantial frustration of the principal purpose of the contract;

        (2) that the nonoccurrence or occurrence of the frustrating event was a basic

        assumption upon which the contract was made; and (3) no fault on the part of the

        [party raising the defense].” Chase Manhattan Bank v. Iridium Afr. Corp.,



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        474 F. Supp. 2d 613, 620 (D. Del. 2007). Had Honeywell been given the

        opportunity, it would have demonstrated that all three of these requirements are

        satisfied, or at minimum that there are questions of fact for resolution by the jury.5

              As to whether there was substantial frustration of the principal purpose of the

        contract, § 5.1 of the Agreement provides Honeywell the right to audit OPTO

        concerning a matter underlying the core purpose of the Agreement. Honeywell’s

        right to an audit obligated OPTO not to frustrate that right. But OPTO failed to

        timely provide the auditor with the requisite materials, frustrating the principal

        purpose of § 5.1, which was to confirm OPTO’s sales representations.

              As to the second requirement, Honeywell entered the Agreement on the basic

        assumption that OPTO would timely provide the required sales reports (to

        Honeywell’s outside counsel) and the required audit materials (to the auditor). Under




        5
          Were the audit provision viewed as a condition precedent to Honeywell’s breach
        claim—a finding not explicitly stated in the district court’s summary judgment
        order—the “prevention doctrine” leads to the same result. Under Delaware law,
        “[t]he ‘prevention doctrine’ provides that a party may not escape contractual liability
        by reliance upon the failure of a condition precedent where the party wrongfully
        prevented performance of that condition precedent.” A.I.C., Ltd. v. Mapco
        Petroleum, 711 F. Supp. 1230, 1238 (D. Del. 1989). The doctrine ensures that “[o]ne
        who unjustly prevents the performance or the happening of a condition” is not
        “permitted to take advantage of his own wrong, and to escape from liability for not
        rendering his promised performance by preventing the happening of the condition
        on which it was pr[e]mised.” Id. (alteration in original). Here, OPTO’s conduct
        prevented Honeywell from completing the audit before January 21, 2021.

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        the Agreement, Honeywell needed to provide only “reasonable prior notice” to

        invoke the audit process. JA6440–6441.

              Finally, as to the third requirement, the frustration of purpose that occurred

        was OPTO’s fault, not Honeywell’s. OPTO had the required information readily

        available yet did not provide it until the end of March 2021. JA5189. Had the district

        court indicated it might sua sponte rule that Honeywell failed to comply with § 5.1,

        Honeywell would have emphasized these facts showing OPTO’s frustration of this

        core part of the Agreement. OPTO’s actions track the fundamental reason for the

        frustration-of-purpose claim—to prevent parties from thwarting their contractual

        obligations and ultimately benefiting from their own inappropriate behavior.

        Honeywell should have been entitled to present these facts to a jury.

              Honeywell Substantially Complied With the Audit Provision’s Timing

        Requirements. Honeywell was also entitled to demonstrate its substantial

        compliance with the audit provision, but the district court’s sua sponte ruling

        prevented that. Importantly, whether Honeywell “can satisfy the doctrine of

        substantial compliance is a question of fact.” Cato Cap. LLC v. Hemispherx

        Biopharma Inc., 625 Fed. App’x 108, 111 (3d Cir. 2015).

              Substantial compliance or performance is “that which, despite deviations from

        contract requirements, provides the important and essential benefits of the contract.”

        Gildor v. Optical Sols., Inc., No. 1416-N, 2006 WL 4782348, at *7 (Del. Ch. Jun. 5,



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        2006). In a case similar to this one in the pertinent respects, the parties’ contract

        required certain advertising display space to be sold within a time frame specified in

        the agreement, but the space was not sold within the required time frame. The

        Delaware court rejected the defendant’s argument that the failure to sell the display

        space within the time frame voided the contract. The court ruled that the “contract

        covering this item was accepted by defendant and the time element is so

        inconsequential that there was at least substantial compliance with the terms of the

        agreement.” Rennolds v. Airport Advert. Inc., 78 F. Supp. 585, 587 (D. Del. Jul. 22,

        1948). The same applies here. The mere fact that the audit process continued shortly

        beyond the one-year time frame (even though the delays were attributable to OPTO)

        is so inconsequential to the material terms that a jury could reasonably find that

        Honeywell substantially complied with § 5.1.

              In its summary judgment order, the district court theorized that if the

        completion of the audit was not limited to one year, the audit “could go on for years

        without any limitation.” JA524. That concern is easily allayed by the rationale

        underlying the substantial-compliance doctrine. The court in Gildor explained that

        the “requirement of substantial compliance is an attempt to avoid harsh

        results . . . where the purpose of [the contractual requirements] has been met.” 2006

        WL 4782348, at *7 (internal quotation marks omitted). Here, though the audit

        extended beyond the one-year mark for a couple months (due to OPTO’s delays),


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        Honeywell substantially complied in all material respects. Applying the “substantial

        compliance” doctrine would be a fair outcome and would avoid the harsh result the

        doctrine is designed to avoid. Honeywell should have been allowed to present the

        associated facts, and the jury should have been the arbiter of those facts. OPTO never

        sought summary judgment on this issue, and thus the district court did not have the

        benefit of Honeywell’s position during the summary judgment process.

              Honeywell’s position is reinforced by the facts underlying the delay, including

        an unforeseeable global pandemic and OPTO’s own delay in providing the materials

        it was obligated to provide. As explained above, Honeywell started the audit process

        well before the one-year date. It was only because of OPTO’s delay that the auditor

        did not receive the pertinent sales spreadsheets during the one-year period. That

        OPTO kept providing information after the one-year period had lapsed (and signed

        an NDA related to the audit material it was sharing that extended beyond the one-

        year period) supports Honeywell’s substantial compliance with § 5.1 of the

        Agreement. Honeywell was therefore entitled to have a jury hear its defense of

        substantial compliance, at least because OPTO’s own actions should not be allowed

        to undercut material portions of the contract to Honeywell’s detriment.

              OPTO Waived Any Right to Enforce the Timing Requirements in the Audit

        Provision and Acquiesced to Honeywell’s Handling of the Audit. OPTO was a

        willing participant in dealing with the auditor in February and March 2021, the short


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        timeframe beyond the one-year mark. OPTO’s own conduct thus demonstrates a

        waiver of or acquiescence to the timeline. This, too, is a pure question of fact. Estate

        of Buller v. Montague, No. S18C-11-007 RFS, 2020 WL 996883, at *6 (Del. Super.

        Ct. Mar. 2, 2020) (whether the party’s failure to “complain even though the

        insurance was not obtained by the specified date and carried on business as usual”

        constituted acquiescence was a question of fact “not appropriate for summary

        judgment”); see Amirsaleh v. Bd. of Trade of N.Y., 27 A.3d 522, 530 (Del. Aug. 16,

        2011) (finding waiver of contractual deadline).

              “It is well settled in Delaware that a party may waive contractual requirements

        or conditions.” Amirsaleh, 27 A.3d at 529. “[T]hree elements must be demonstrated

        to invoke the waiver doctrine: (1) that there is a requirement or condition capable of

        being waived, (2) that the waiving party knows of that requirement or condition, and

        (3) that the waiving party intends to waive that requirement or condition.” Id. Once

        a party waives the requirement or condition, “[a] party typically is prohibited from

        retracting its waiver if the non-waiving party has suffered prejudice or has relied to

        his detriment on the waiver.” Id. In a similar vein, the doctrine of “acquiescence

        effectively works as an estoppel,” barring later claims of noncompliance when a

        party “having ‘full knowledge of his rights and the material facts,’ engages in

        conduct that leads the other party to believe reasonably that the act had been

        approved.” XRI Inv. Holdings, LLC v. Holifield, 283 A.3d 581, 623 (Del. Ch. Sept.


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        13, 2022). “A party may convey the message of approval by (i) remaining inactive

        for a considerable period of time, (ii) freely acknowledging or taking action that

        amounts to recognition of the challenged act, or (iii) acting in a manner inconsistent

        with a repudiation of the act.” Id. Acquiescence “turns on the objective

        manifestations” of the party’s conduct. Id.

              Whether viewed through the lens of waiver or the lens of acquiescence,

        OPTO’s conduct fits the bill. OPTO was aware of the terms of the Agreement, knew

        that Honeywell had invoked its audit rights, actively provided requested information

        to the auditor both before and after January 21, 2021, and never objected that the

        audit was untimely. And in its own internal analysis, OPTO believed it was

        “probable” that Honeywell’s claim was correct, never suggesting that the timing of

        the audit precluded relief. JA553.

              The Agreement uses the phrase “conducted” twice in § 5.1—once in reference

        to the audit taking place during “normal business hours,” and once in reference to

        the timing of the audit. JA6440–6441. Taking the district court’s ruling to its natural

        extension, Honeywell would also be barred from bringing a claim for breach of

        contract if, for example, OPTO had allowed the auditor to remain at its premises for

        even a few minutes outside of normal business hours for the mutual convenience of

        all involved. This would be an absurd result, but under the district court’s rationale

        the consequence would be a summary judgment ruling barring all relief. The district


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        court applied that very approach when considering the time frame for the audit.

        OPTO (and its lawyers) had every opportunity to object to the audit after January

        21, 2021, but OPTO instead continued to provide more data to the auditor through

        March 31, 2021. OPTO’s conduct thus amounted to acquiescence.

              OPTO should not be allowed to unfairly prejudice Honeywell by retroactively

        enforcing a deadline that it was aware of and chose not to enforce. Moreover,

        OPTO’s own acquiescence—by continuing to send documents past January 21,

        2021—demonstrates the lack of any prejudice to OPTO. Indeed, OPTO continued

        to participate in the audit after the one-year mark without raising a single objection.

        OPTO cannot belatedly assert prejudice from any delay (which was of its own doing)

        when the audit was complete and nothing more was required of it. For this additional

        reason, there are a myriad of triable issues of fact regarding compliance that should

        have precluded summary judgment regarding the timing of the audit.

              B.     The District Court’s Sua Sponte Ruling That Honeywell Did
                     Not Comply With the Audit Provision Has Underlying
                     Questions of Fact That Preclude Summary Judgment.

              Honeywell properly complied with the audit provisions contemplated by

        § 5.1. As explained, § 5.1 of the Agreement provides Honeywell the right to audit

        OPTO. JA6440–6441. Nowhere does it require that Honeywell proceed with an

        audit to seek remedy for breach. With respect to the provisions governing the audit,

        Honeywell complied with each of the requirements. The Agreement recites:



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              HONEYWELL INTERNATIONAL, through an independent public
              accounting firm, shall have the right, at HONEYWELL
              INTERNATIONAL’s expense, to audit OPTICON’s records for the
              purpose of determining the accuracy of OPTICON’s worldwide sales;
              provided that HONEYWELL INTERNATIONAL provides OPTICON
              with reasonable prior notice, and such audit is conducted during
              OPTICON’s normal business hours. Such audit may be conducted no
              more than one (1) time within one (1) calendar year of the Effective
              Date.

        JA6440–6441.

              Once Honeywell initiated the audit, OPTO never contested whether it had

        reasonable prior notice of the audit and never contested whether the audit was

        conducted during OPTO’s normal business hours. Had OPTO raised any such

        challenge, Honeywell would have addressed them. At minimum the pertinent

        circumstances involve questions of fact for a jury.

              Honeywell conducted the audit only one time within one year of the Effective

        Date. Honeywell provided notice that it was invoking its right to audit OPTO on

        December 16, 2020, over one-month before the deadline of January 22, 2021. The

        district court’s sua sponte ruling that Honeywell’s audit was not finished within one

        year of the effective date misinterprets the Agreement. The district court determined

        that the language “conducted . . . within one (1) calendar year of the Effective Date”

        requires that the audit be fully completed before the Effective Date. JA524. The court

        reasoned that because the contract also uses the term “conducted” as it relates to




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        conducting the audit during OPTO’s business hours, the parties contemplated that

        the audit must be completed within a precise, limited timeframe. JA524.

              The district court’s interpretation does not fit the rest of the requirements of

        the Agreement. It makes little sense that Honeywell could provide reasonable notice

        of the audit, but then fail to meet a related provision simply because OPTO dragged

        its feet in complying with its audit obligations. Indeed, OPTO did not provide the

        last of the necessary sales records until March 31, 2021. The district court’s

        interpretation puts Honeywell at the mercy of OPTO, who could delay the audit for

        as long as it wanted, thus circumventing the audit provision. That interpretation

        results in an illogical conclusion.

              Either way, a jury should decide whether Honeywell met its obligation to

        conduct the audit within the one-year period, not the district court sua sponte at the

        summary judgment stage. Honeywell hired and ultimately handed off control of the

        audit to a third-party auditor who was working directly with OPTO well before the

        audit deadline, and thus Honeywell met its obligations under the audit provision. It

        is a question of fact as to whether Honeywell’s actions amounted to conducting the

        audit within one year. Accordingly, at the very least, a dispute of material fact existed

        that should have gone to a jury for consideration.




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              This Court should therefore reverse the summary judgment order and remand

        for trial on whether Honeywell complied with the audit provisions and is entitled to

        liquidated damages.

        IV.   The District Court Erred By Denying Honeywell Its Attorney Fees Under
              The Agreement, Which Expressly Awards “Fees and Costs.”

              When the parties negotiated the Agreement, they specifically included a fee-

        shifting provision: “In the event a Party must institute an action to collect any

        overdue payments, that Party shall be entitled to its fees and costs incurred with

        respect to such an action.” JA6439. Under Delaware law, courts are to enforce fee-

        shifting provisions as written. Here, Honeywell was forced to incur significant fees

        and costs to collect the overdue royalty payments that the jury found OPTO failed

        to make, and Honeywell had to defend the multitude of (ultimately failed)

        affirmative defenses and counterclaims that OPTO lodged.

              The court erred as a matter of law by misapplying controlling Delaware law

        regarding fee-shifting provisions. As discussed below, the court erred by requiring

        “magic” words and, on that basis, also erred in each of its three reasons for denying

        Honeywell any fees and costs whatsoever. This Court should reverse the district

        court’s denial of Honeywell’s motion.




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              A.     The District Court Erred by Requiring “Magic” Words to
                     Enforce the Fee-Shifting Provision That the Parties Had
                     Embraced and Implemented in the Agreement.

              The Agreement establishes a valid and enforceable fee-shifting provision

        under Delaware law. When a contract provides for attorneys’ fees, Delaware courts

        look solely to the contract in determining whether to grant such an award. Comrie

        v. Enterasys Networks, No. 19254, 2004 WL 936505, at *2 (Del. Ch. Apr. 27, 2004).

              “Where a contract places the responsibility for payment of attorneys’ fees on

        any party who either breaches the contract or fails to perform in accordance with the

        terms of the contract, courts will enforce the bargained-for provision absent evidence

        of an ambiguity or contrary intent.” L&W Ins., Inc. v. Harrington, C.A. No. 2730-

        VCP, 2007 WL 1756540, at *3 (Del. Ch. June 6, 2007) (internal quotation marks

        omitted). As a result, “Delaware law and equity courts routinely enforce provisions

        of a contract allocating costs of legal actions arising from the breach of a contract.”

        Knight v. Grinnage, No. 14823, 1997 WL 633299, at *3 (Del. Ch. Oct. 7, 1997);

        see also SIGA Techs., Inc. v. PharmaAthene, Inc., 67 A.3d 330, 352 (Del. 2013) (“In

        contract litigation, where the contract contains a fee-shifting provision, we will

        enforce that provision.”).

              “Under Delaware law, there is no ‘bright-line language’ to establish a fee

        shifting provision.” Balt. Pile Driving & Marine Constr., Inc. v. Wu & Assocs., No.

        19L-07-090, 2022 WL 3466066, at *2 (Del. Super. Ct. Aug. 18, 2022). Delaware



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        law treats each provision as “unique,” and each “must be decided under the facts of

        that particular case.” Id. Delaware courts must also “give each provision and term

        effect, so as not to render any part of the contract mere surplusage.” Kuhn Constr.,

        Inc. v. Diamond State Port Corp., 990 A.2d 393, 396–97 (Del. 2010).

              Despite Delaware law being clear that there are no “magic words” or “magic

        phrases” needed for a fee-shifting provision, the district court ruled otherwise. The

        court concluded that because the provision lacks the terms “attorney” and

        “prevailing party,” § 4.7 could not be a fee-shifting provision. JA1806–1813. That

        ruling directly contradicts the no-magic-words-required precedent in Delaware.

              Section 4.7 states: “In the event a Party must institute an action to collect any

        overdue payments, that Party shall be entitled to its fees and costs incurred with

        respect to such an action.” JA6439. Here, Honeywell instituted the underlying action

        to collect overdue royalty payments due under § 4.3 and § 5.1. JA56. An objective

        and reasonable third party would understand that, because Honeywell instituted an

        action to collect overdue royalty payments, Honeywell is “entitled to its fees and

        costs incurred with respect to such an action.” Estate of Osborn v. Kemp, 991 A.2d

        1153, 1159 (Del. 2010) (“Delaware adheres to the ‘objective’ theory of contracts,

        i.e., a contract’s construction should be that which would be understood by an

        objective, reasonable third party.”).




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              As a result, the district court erred by not concluding that § 4.7 is a valid and

        enforceable fee-shifting provision under Delaware law.

              B.     The District Court Erred by Concluding That the
                     Agreement’s Fee-Shifting Provision, Which Expressly
                     Awards “Fees and Costs,” Did Not Support Awarding
                     Honeywell Its Fees and Costs.

              Based on the straightforward words of § 4.7, Honeywell is entitled to all “fees

        and costs” incurred in recovering OPTO’s overdue payments, which includes

        attorneys’ fees. The district court concluded, however, that because § 4.7 lacks the

        word “attorneys,” the reference to “fees” does not include “attorneys’ fees,” and

        Honeywell was entitled to none of its fees or costs whatsoever. JA1808–1813. That

        conclusion defies explicit Delaware precedent requiring interpreting a contractual

        provision to give each provision effect. See Kuhn Constr., 990 A.2d at 396–97.

              The Agreement is clear and unambiguous that “fees and costs” includes all

        fees and costs incurred in the action, including attorneys’ fees, expert fees and costs,

        and other fees and costs incurred. An objective and reasonable third party would

        understand “fees” not to be limited to any one type of fee, but rather to include any

        fee incurred, including attorneys’ fees and expert fees. This understanding is

        confirmed by, for example, Black’s Law Dictionary, which defines “fee” as “a

        charge or payment for labor or services, esp. professional services.” See FEE,

        BLACK’S LAW DICTIONARY (11th ed. 2019). Black’s Law Dictionary goes on

        to provide examples of “fees” and specifically includes “attorney’s fees” and

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        “expert-witness fee[s]” within the definition. Id. This customary understanding of

        “fees” has been applied by Delaware courts. For example, in Aveta Inc. v. Bengoa,

        the plaintiff moved to enforce a “fee award,” and the court enforced the fee award

        by repeatedly referring to “fees” and a “fee award” as including attorneys’ fees. No.

        3598-VCL, 2010 WL 3221823 (Del. Ch. Aug. 13, 2010). To exclude attorneys’ fees

        from the award of “fees” in the Agreement—as the district court did here—would

        render the recitation of “fees” superfluous and mere surplusage. Such a reading

        cannot stand under Delaware law. Kuhn Constr., 990 A.2d at 396-97 (“[Delaware

        courts] will read a contract as a whole and we will give each provision and term

        effect, so as not to render any part of the contract mere surplusage.”).

              The context of the Agreement also supports awarding Honeywell its fees and

        costs. In the “Background” of the Agreement, the parties explained that in the

        preceding Delaware action, Honeywell “sought a declaration of infringement,

        damages, interest, attorney fees, and accounting of damages, costs of suit, and

        equitable relief.” JA6433. That language reflected Honeywell’s Request for Relief

        in the Delaware action, which sought (among other things) “a determination that this

        is an exceptional case, and an award to Honeywell of its reasonable attorneys’ fees

        pursuant to 35 U.S.C. § 285.” JA901. Based on that language, the parties agreed in

        § 3.2 that “[e]ach Party shall bear its own . . . attorneys’ fees” in resolving the

        Delaware and ITC actions. JA6437. But the parties expressly used the broader term


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        “fees” in Section 4.7—capturing attorneys’ fees and other fees incurred with respect

        to an action to collect overdue payments. See Seidensticker v. Gasparilla Inn, Inc.,

        2007 WL 4054473, at * (Del. Ch. Nov. 8, 2007) (“When interpreting contracts, this

        Court gives meaning to every word in the agreement and avoids interpretations that

        would result in ‘superfluous verbiage.’”). There is no grammatical, contractual, or

        other support for the notion that “fees” somehow excludes “attorneys’ fees.”

              Under the ordinary understanding of the Agreement, Honeywell is entitled to

        its fees and costs—including attorneys’ fees, expert fees, and any other fees and

        costs incurred in the underlying litigation.

              C.     The District Court Erred by Concluding That the Fee-
                     Shifting Provision Does Not Apply to Breach Actions.

              Section 4.7 contemplates the precise action that Honeywell brought—an

        action to collect overdue payments from OPTO. Ignoring the plain language of § 4.7,

        the court concluded that § 4.7 “may not even apply to ‘court’ actions” and suggested

        that § 4.7 instead applies only to collection actions. JA1798, JA1812–1813. That

        conclusion fails under the plain wording of the Agreement, and it departs from the

        actual jury verdict.

              First, there is a close congruency between the language of the Agreement and

        the jury’s findings. The fee-shifting provision applies to “an action to collect any

        overdue payments,” and the jury explicitly found that “OPTO breach[ed] the []

        Agreement by failing to timely pay Honeywell all royalties due under the

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        Agreement.” JA6439; JA781. The jury’s finding of breach falls squarely within the

        ambit of the fee-shifting provision.

              Second, Honeywell and OPTO are not, and have never been, in a

        debtor/creditor relationship, so there would be no point in the Agreement having a

        collections provision applicable to such a relationship. For there to be a

        debtor/creditor relationship, Honeywell would have had to lend money to OPTO.

        See Millcreek Shopping Ctr., LLC v. Jenner Enters., No. N13C-11-145, 2017 Del.

        Super. Lexis 170, at *11 (Super. Ct. Mar. 31, 2017) (finding that there must be an

        underlying loan obligation for the formation of a debtor-creditor relationship under

        Delaware debtor-creditor law). Honeywell never loaned money to OPTO, so it is

        nonsensical to limit § 4.7 to only collection actions.

              Third, § 4 of the Agreement—titled “Payments and Other Consideration”—is

        not limited to “collection actions.” JA6437–6440. Section 4 and its subsections

        articulate OPTO’s various payment obligations: § 4.2 recites OPTO’s lump-sum

        payment to Honeywell; § 4.3 recites OPTO’s ongoing royalty payments; § 4.5

        requires OPTO to submit reports in connection with its royalty obligations; and § 4.6

        articulates a late fee if OPTO is late in making its payments. JA6437–6440. And

        then § 4.7 articulates what happens if OPTO fails to make any payment. JA6439.

              The jury returned a verdict implicating damages under both §§ 4.3 and 4.6.

        Both Honeywell and OPTO stipulated “that the computation of the royalties under


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        § 4.3 and the late fees under § 4.6 of the License and Settlement Agreement directed

        to the accused products in this matter is $859,741.” JA784.6 It is inconsistent for the

        parties to stipulate to damages under § 4 but at the same time ignore § 4.7. A plain

        reading confirms that § 4.7 is implicated when a party institutes any action for

        overdue payments under § 4.

              Therefore, the district court erred in concluding that § 4.7 does not apply to a

        breach-of-contract action to collect overdue payments.

              D.     The District Court Erred by Relying on Third-Party
                     Agreements to Conclude That Honeywell Is Not Entitled to
                     Its Fees and Costs.

              The district court further erred by improperly relying on Honeywell

        agreements with third parties Datalogic and Zebra in concluding that § 4.7 does not

        award fees and costs. JA1810–1811.

              Datalogic and Zebra are not parties to this litigation. Nor were they subject to

        any third-party discovery in the case. Datalogic and Zebra are other competitors that

        have licensed Honeywell’s barcode scanning portfolio on completely different

        terms. In short, the Datalogic and Zebra licenses have no connection to the

        Agreement between Honeywell and OPTO.




        6
         The similarities in the language of §§ 4.6 and 4.7 are noteworthy: § 4.6 recites “[i]n
        the event a Party fails to make any payment due hereunder,” and § 4.7 recites “[i]n
        the event a Party must institute an action to collect any overdue payments.” JA6439.

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              Despite the irrelevance of these other agreements, the district court relied on

        them when interpreting the Agreement between Honeywell and OPTO. The court

        concluded that because Honeywell had used “prevailing party” and “attorneys’ fees”

        language in the agreements with Datalogic and Zebra, and because the Agreement

        with OPTO does not use those same words, Honeywell necessarily did not include

        a fee-shifting provision in the OPTO Agreement. JA1811–1812.

              The district court’s ruling counters Delaware law, which mandates that

        Delaware courts look “solely” to the document in determining whether to grant such

        an award. Comrie, 2004 WL 936505, at *2. Delaware law further assumes that “[t]he

        parties who enter[ed] into a contract [had] the opportunity during the course of their

        negotiations to add to the contract any provision appropriately bargained for which

        would place the responsibility for payment of attorneys’ fees on any part who either

        breaches the contract or fails to perform in accordance with the terms of the

        contract.” Knight, 1997 WL 633299, at *3. The district court erred by relying on

        evidence beyond the four corners of the Agreement to conclude that § 4.7 is not a

        fee-shifting provision.

              For each of these independent reasons, this Court should reverse the district

        court’s denial of Honeywell’s motion for fees and costs.




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                                         CONCLUSION

              For the foregoing reasons, this Court should reverse the district court’s award

        of summary judgment and remand for Honeywell to pursue all available remedies

        for OPTO’s breach of the Agreement and to recover its fees and costs.



        Dated: April 1, 2024

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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT


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              I hereby certify that on this 1st day of April, 2024, I caused the Plaintiffs-

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                                                     /s/ Kirk T. Bradley
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